3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/09/22   Entry Number 373-1   Page 1 of 3




                   Exhibit A
    (Excerpt From August 8, 2022 Deposition of Brenda Murphy)
3:21-cv-03302-MGL-TJH-RMG      Date Filed 09/09/22    Entry Number 373-1      Page 2 of 3
                                      Brenda C. Murphy                       August 8, 2022
                      The South Carolina State Confvs.McMaster/Alexander

                                                                             Page 1

 1                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
 2                         COLUMBIA DIVISION
 3        THE SOUTH CAROLINA STATE
          CONFERENCE OF THE NAACP
 4
               and
 5
          TAIWAN SCOTT, ON BEHALF OF HIMSELF
 6        AND ALL OTHER SIMILARLY SITUATED
          PERSONS,
 7
                      Plaintiffs,
 8
               vs.                Case No. 3:21-CV-03302-MGL-TJH-RMG
 9
          THOMAS C. ALEXANDER, IN HIS OFFICIAL
10        CAPACITY AS PRESIDENT OF THE SENATE;
          LUKE A. RANKIN, IN HIS OFFICIAL CAPACITY
11        AS CHAIRMAN OF THE SENATE JUDICIARY
          COMMITTEE; MURRELL SMITH, IN HIS OFFICIAL
12        CAPACITY AS SPEAKER OF THE HOUSE OF
          REPRESENTATIVES; CHRIS MURPHY, IN HIS
13        OFFICIAL CAPACITY AS CHAIRMAN OF THE HOUSE
          OF REPRESENTATIVES JUDICIARY COMMITTEE;
14        WALLACE H. JORDAN, IN HIS OFFICIAL CAPACITY
          AS CHAIRMAN OF THE HOUSE OF REPRESENTATIVES
15        ELECTIONS LAW SUBCOMMITTEE; HOWARD KNAPP,
          IN HIS OFFICIAL CAPACITY AS INTERIM
16        EXECUTIVE DIRECTOR OF THE SOUTH CAROLINA
          STATE ELECTION COMMISSION; JOHN WELLS,
17        JOANNE DAY, CLIFFORD J. EDLER, LINDA MCCALL,
          AND SCOTT MOSELEY, IN THEIR OFFICIAL
18        CAPACITIES AS MEMBERS OF THE SOUTH CAROLINA
          STATE ELECTION COMMISSION,
19
                    Defendants.
20        ______________________________________________________
21        DEPOSITION OF:   BRENDA C. MURPHY
                           (Via Videoconference)
22
          DATE:               Monday, August 8, 2022
23
          TIME:               10:00 a.m.
24
          LOCATION:           6111 North Main Street
25                            Columbia, South Carolina

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3:21-cv-03302-MGL-TJH-RMG      Date Filed 09/09/22    Entry Number 373-1      Page 3 of 3
                                      Brenda C. Murphy                       August 8, 2022
                      The South Carolina State Confvs.McMaster/Alexander

                                                                           Page 44

 1        there is splitting -- to minimize splitting.
 2        Minimize packing in hopes of Black people being able
 3        to have some influence over who is elected as their
 4        representative.
 5                  Q.     All right.         So let's go through some of
 6        those.      You said it was important that they were
 7        contiguous.       Right?
 8                  A.     Yes.
 9                  Q.     That doesn't have anything to do with
10        race.     Correct?
11                  A.     Well, I think the main thing is that
12        they are drawn in such a way that the Black vote has
13        some influence over who serves, the individual.
14        That's the primary goal.
15                  Q.     Yes, ma'am.         But contiguous means that a
16        district would be next to each other.                     Right?
17                  A.     Yeah.      Yeah.
18                  Q.     So that wouldn't have anything to do
19        with race.       Correct?
20                  A.     Well, it might.
21                  Q.     The communities of interest, are there
22        communities of interest that don't involve race?
23                  A.     Well, yeah.         If you look at subsets,
24        yes, community subsets within a community.                        But when
25        we are talking communities of interest, we are

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